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16   WhatsApp LLC and Meta Platforms, Inc.

17                              UNITED STATES DISTRICT COURT
18
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                       OAKLAND DIVISION
20
                                        )          Case No. 4:19-cv-07123-PJH
21    WHATSAPP LLC and                  )
      META PLATFORMS, INC., a Delaware  )          DECLARATION OF MICAH G. BLOCK
22
      corporation,                      )          IN SUPPORT OF PLAINTIFFS’ MOTION
23                                      )          TO EXCLUDE THE EXPERT
                      Plaintiffs,       )          TESTIMONY OF TERRENCE MCGRAW
24                                      )
             v.                         )           Date: February 13, 2025
25                                      )           Time: 1:30 PM
26    NSO GROUP TECHNOLOGIES LIMITED )              Ctrm: 3
      and Q CYBER TECHNOLOGIES LIMITED, )           Judge: Hon. Phyllis J. Hamilton
27                                      )           Action Filed: October 29, 2019
                      Defendants.       )
28                                      )
      Case 4:19-cv-07123-PJH          Document 514-1         Filed 01/09/25      Page 2 of 2




 1          I, Micah G. Block, declare as follows:

 2          1.      I am an attorney licensed to practice law in the state of California. I am a partner at

 3   Davis Polk & Wardwell LLP, counsel for Plaintiffs WhatsApp LLC and Meta Platforms, Inc. in the

 4   above-captioned matter. I submit this declaration in support of the Plaintiffs’ Notice of Motion and

 5   Motion to Exclude the Expert Testimony of Terrence McGraw. I am personally familiar with the

 6   legal proceedings in this matter and make this declaration from my own personal knowledge, and I

 7   could and would competently testify to the following it called upon to do so.

 8          2.      Attached hereto as Exhibit A is a true and correct copy of the Report of Terrence

 9   McGraw, dated August 30, 2024.

10          3.      Attached hereto as Exhibit B is a true and correct copy of the Rebuttal Report of

11   Terrence McGraw, dated September 21, 2024.

12          4.      Attached hereto as Exhibit C is a true and correct excerpt of the deposition transcript

13   of Terrence McGraw, taken in this case on December 16, 2024.

14          5.      Attached hereto as Exhibit D is a true and correct excerpt of the deposition transcript

15   of Tamir Gazneli, taken in this case on September 4, 2024.

16          6.      Attached hereto as Exhibit E is a true and correct excerpt of the deposition transcript

17   of Yaron Shohat, taken in this case on August 29, 2024.

18          7.      Attached hereto as Exhibit F is a true and correct copy of the Expert Report of David

19   Youssef, dated August 30, 2024.

20          I declare under the penalty of perjury that the foregoing is true and correct.

21          Executed on the 9th day of January, 2025, in Redwood City, California.

22

23                                              By: /s/ Micah G. Block
                                                    Micah G. Block
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                                                        1
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION TO EXCLUDE THE EXPERT TESTIMONY OF
     TERRENCE MCGRAW - CASE NO. 4:19-CV-07123-PJH
